Case 3:20-cv-00973-FLW-DEA Document1 Filed 01/29/20 Page 1 of 2 PagelD: 1

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Attorney for Plaintiffs, Local 807 Labor-Management Health and Profit-Sharing Funds

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
LOCAL 807 LABOR-MANAGEMENT ) CIVIL ACTION
HEALTH AND PROFIT-SHARING FUNDS, )
) DOCKET NO.:
Plaintiffs )
> ) NOTICE OF MOTION TO CONFIRM
VS. ) ARBITRATION AWARD AND ENTRY OF
) JUDGMENT
P3 TRANSPORTATION LLC )
)
Defendant )
)

 

To: Philip Rueck, Managing Director

P-3 Transportation

14 Susie Lane

Jackson, New Jersey 08527

PLEASE TAKE NOTICE, that on March 2, 2020, at 9:00 in the forenoon, or as
soon thereafter as counsel may heard, the undersigned attorneys for Plaintiffs, Local 807
Labor-Management Health and Profits Sharing Funds (“Funds”) shall move for an Order
confirming an Arbitration Award and Entry of Judgment in the United States Courthouse,
Newark, New Jersey.

PLEASE TAKE FURTHER NOTICE, that counsel shall rely upon the attached

Petition to confirm Arbitration Award and Entry of Judgment, and statement that no brief

is necessary, proposed form of Order and proposed form of Judgment.
Case 3:20-cv-00973-FLW-DEA Document1 Filed 01/29/20 Page 2 of 2 PagelD: 2

PLEASE TAKE FURTHER NOTICE, that oral argument is requested only if this
application is opposed.

NEW & KARFUNKEL, P.C.
Attorney for Plaintiff

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By: Bou Q Wd/ |
BENIAMIN A. IKARFUNKEL
Dated: January 29, 2020
